Case 2:20-cv-06842-MRW Document 1-1 Filed 07/30/20 Page 1 of 19 Page ID #:5




                      EXHIBIT A
                        Case 2:20-cv-06842-MRW Document 1-1 Filed 07/30/20 Page 2 of 19 Page ID #:6
Electronically FILED by Superior Court of California, County of Los Angeles on 04/07/2020 06:12 PM Sherri R. Carter. Executive Officer/Clerit of Court, by G. Villarreal.Deputy Clerk
                                                                                       20STLC03152
                                         Assigned for all purposes to: Spring Street Courthouse, Judicial Officer; Serena Murillo
                                                                                                                                                                                        1




               I        LAW OI I K L OK KICIIAUI) COUKRLY
                        KiCI lAK!) COBKRIA'SB/? 242093
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                        9()i) S. Villiiuc (.)aks Dr.. Suite 105
                        { trv iu;i. CA 9! 724
                         1 clcphone: (626) 335-6844
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                        Allume> lor PlainiilV.
                        i .iva \’c!i/ke
               r.

                7                              SUKLUIOR COURT OK THK ST-ATIi. OK CALIKOUNIA

                S                            COUNTY OK LOS ANGKLKS - POMONA COliR I HOUSK

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                         i.lS.A VI-N/.KI-. an intlixidual. and DOHS                            Case No.          2 OST L_0 0 315 2
              lO
                          l-IOO.
                                                                                               COMPLAINT KOR:
              11
                                                           PlaintiiV.
                   "5                                                                                  1. NFXLIGLNT VIOLATION OK
                         \                                                                                I'HK VIOLATION OF
                                                                                                          TFLLPHONF CONSUiMFR
                         RlidlONAL ACCHPI ANCL                                                            PRO I LCTION AC r, 47 U.S.C.
               14        CORPORA riON. and DDLS 1-50.                                                     227 cl scq.
                         Indu>ivc.                                                                     2. WILLFUL VIOLATION OF
                                                                                                          TFLFPHONF CONSUMK.R
                                                             Dercndams.                                   PROTFX1 ION AC 1,47 U.S.C.
                                                                                                          227 et seq,
                                                                                                       3 VIOLATION OF THF
                                                                                                          ROSLNTIIAL FAIR 1)1.10
               IS                                                                                         COLLFCTIONS PRAC KICKS AC'I
                                                                                                       4. VIOLATION OF BUSINKSS AND
               19
                                                                                                          PROFKSSIONS COOK ^ 1720(1 K'K
              2i»                                                                                         SF-Q.



               TO                                                     PRKLIMINARV STATEMKNT

               A *'          i.   jsa Ven/ko ("[MainiilT'} brings this Complaini for damages, injunctive reliel. punitiw
                        damages and any other available tcg;il or equitable remedies, resulting Irom the illegal actions
               24
                         of Keeional Acceptance Corporation ("R.AC or "Derendanl ) in negligent!) andAir uiillull)
               25
                         eoniaciing Plaimiffon Plaintiffs residential telephone, in violation of the Telephone Consumer
               2o
                         I'roteet ion Act. 47 U.S.C. § 227 et seq.. (-"rCPA")- thereby invading Plaintiffs pri\;tc>.
               27

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                                                                                      COMPLAINT
         Case 2:20-cv-06842-MRW Document 1-1 Filed 07/30/20 Page 3 of 19 Page ID #:7




         Plaintiff alleges as follows upon persunal knowledge as to hcrseir iincl his                   acts and

         esperiencos. and. as to all other mailers, upon information and helief. includinu invosli^alion

         eonducted b> his ailorncys.
4
            2. In addition. Plaintiff .socks recovery against RAC's iLS an individual consumer fur RAt.’

         siolaiions nl ilu' l-aii- Credit Ronorliim Act CFCRA")- K^U.S.C. §§ l68Ke/.wf/. . as (iniendcd.
(>
            well as the Rosenthal Pair Debt Collections Practices Act.
7                                       dURlSOlCTlON AM) VENUK

 S           3.     fliis Court is the proper court and this action is properly Piled in the Count> ol i. os

 0       Angeles and in this judicial district because Plaintiff is located in the County of Los Angelos

H) .ind the coniaet made by Ocfendanl occurred in the County of Los Angeles.

11           4. IMainlilTis a resident of the city of Covina and County of Los Angeles, California.

             5. Plaintiffs are informed and believe, and thereon allege that Regional Acceptance

LI Cnrporalion is a North Carolina corporation duly organi/ed in the stale of North Carolina and

14 at till limes relevant authorized to conduct business in the County of San Bernardino.

L> California,

U)           (V     fhe true names and capacities, whether individual, corporate, associate, or otherwise, of

     /    Dt)LS 1 through 50 arc unknown to Plaintiffs, who therefore sue the OOP Defendants by                    /
IS fictitious names.           Plaintiffs pra> leave io amend this Complaint to show their true names and

to capacities when they have been ascertained.
                                   FACTUAL ALLisGATiONS
20
      5. Starting in or about May 28. 2016 through at least April of 2016. Defendant engaged in

          a systematic disregard for all rules and requirements relating to telephone convaci as well as lair

          debt pi'aetice.s b\ a debt collector.

              6. 4/8 or 4/0/16 feniaic rep noted cea.se and desist on the account.
24
                  7. Ill or iiroLiiul N'Uiy 2016. Defendant began calling Pliiimiirs primary cell phone ending
 •'s

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 27

 28
                                                         COMPLAINT
                                                                2
      Case 2:20-cv-06842-MRW Document 1-1 Filed 07/30/20 Page 4 of 19 Page ID #:8




                                          loan. 1’he phone calls were made by Dctcndaius '’robo calls
      350() dcnuinding puytncni on a
      uhcivin a iccoRlin;: u.nikl lx- lelt on Plaimiffs voicemail. In aclcliiion, Dercnclanis nnla«rally

      aaitacicd IMiiiniilT through email on numerous slartmg on or about October 29. 20)6 with the
-I
      eofitaoi continuing until at least December 2016.        PlainiilT demanded on numerous occa.stons

                                                                                               emails.
      including but not limited to October 29. 20I6 to slop harassing her with phone calls and
6     i ler demands fell on deaf ears as the nuillipie daily phone calls and emails conitnued.
7           (S,   Defendant called Plaintiffs primar\' telephone ending in .3506 starting in at least Ma\

S 2o!6 and continuing for at least one year from telephone numbers 866-380-9730. 866-.-)7i-a8()8

      and S(!U-9()9-0467; while Plaintiff did answer .some of these calls in particular, each call uas
in                                                        The calls demanded a return phone call from
      made \ia a automated message robo-caller.
11
      I’lainiiff. At no liiiK' did Plainliffdid not authorize said roho calls to occur.
i:           9. Often RAC would make multiple calls in one day. In particular, on or about Ma\ 28.

13    2016. .Iitnc 23. 2016. June 24, 2016 and December 17. 2016 Plaintill received at least two calls
14          each dii> fri>m R.AC. The multiple calls in one day con.slitule a clear violation of the lair
      t)n

15
      debt collections act.
|6
             10. On or about .lanuary 5. 2016. Plaintiff spoke with RAC customer service represcniaii\o

17    named Ryan.        Rvan asked whether Plainiiff would authorize RAC to contact her via lobo-call.

18 Plaintiff indicated NO. following that refusal to allow the use of automated caller, Plaintill was

19
      coniaeled via robo-call at least 5 limes.      Specillcally. the calls were made on .April 5. 2016 at
20     1 I ;54 a.m. and 11:56 a.m.; April 6. 2016 at 12:44 p.m., 8:03 p.m. and 8:54 p.m. The second two
21    calls vvere elearlv outside of the hours in which debt collection calls are alknved to be made.

              11. Alt calls placed by Defendant to Plaintiff utilized an —automatic telephone dialing
2."
       s\ slem •'A'l'DS" as defined by 47 U.S.C. § 227fa)(l).
24
              12. fhese calls made by Defendant to Plaintiffs telephone utilized an ariillcial or

       prerecorded \oiee {see 47 U.S.C. § 227(b)(i)(B)) and a number of the calls, at least 15. were
2o
       made after Plaintiff demanded that Defendants stop contacting her.
27
              13. Defendant s calls constituted calls that were not for emergency purposes a.s delincd Iw
28
                                                    COMPLAlN'l
                                                           3
          Case 2:20-cv-06842-MRW Document 1-1 Filed 07/30/20 Page 5 of 19 Page ID #:9
                /




                           227(b)() )(li). 10. These lelephohc calls by Deiendnnl, or its agcm. \ iolaied 47
          47 I'.S.C’. §

          li.S.C. i;:27(b)(l)(B).
                      In aJdiiion lo the illegal automated telephone calls PlaintilT was incessantly eoniacied
               14.
4          i;i email tn KA(.2 lleginning in Ociober 2016. Plaintiff was contacted via telephone as well as

                      I he emails appeared to be automated and requested that Plainlilf call R.AC’.
          email.
0                           Plaintiff responded to the emails by indicating a payment had been made and
               !.T
 7 demanding that RAC cease contact via email.                 Specifically, on October 29. 2016 Ms. Ven/.kc

S responded to an RAC email by requesting that RAC "'Stop harassing her.                        On October .71.
      1
‘H
          2(1 lb ^he responded to an email by requesting that RAC "RLMOVL               her Irom its eonlaci list.
10
          R.AC did not do so and emails continued into at least December 2016.
II                           Defendants' representatives provided conllicting advice a.s to how to pa\ oil the
                   16.
 ■)

          remainder of the loan.        When Ms. Venzke followed the most practical advice of making

13
          nunnliK pa> meius the result was a negative impaet upon her eredn.
14
                    17.      In addition, despite Plaintiff making each and every monthly payment.
15        Defendants, without juslillcalion. issued derogatory' reports to the various credit agencies.       I he

16
           impt'i'iper reporting caused damage to Plainlilf s credit and re|3iuation.
  /
                                               riUST CAUSr. OF ACTION
l.S
                          Kntox’in" iind/or Willful Violation of I CPA, 47 U.S.C. § 227 E f SKQ.
10
                                                  (Against All Defendants)
20              1K. Plainlilf incorporates the foregoing paragraphs as though the same were set lorth at

           length herein.

ST              19. Cn or abom .ianuary 5. 2016 Plaintiff responded ‘’UO" to Defendant s request i(» use an

           automated ■Toho” caller in order to contact Plaintiff.

                20. Defendants tlien proceeded to continue to contact Plainlifl via the automated rttho caller
24
                  occasions including at least five limes on April 5 and 6. 2016. /\s well as ten
25 (.>11 numerous
           limes between May 28. 2016 and December 17. 2016.
2(‘
                21. In addition. Plainlil f was also contacted via email by Defendant. Speciileally. on or
27

28
                                                        COMPLAlN'f
                                                               •1
    I        Case 2:20-cv-06842-MRW Document 1-1 Filed 07/30/20 Page 6 of 19 Page ID #:10
    h
         !


         i
              iibout (kiohcr 20, 2016 IMnintilT received an email from RAC to which she responded hy
                 demanding lhai RAC stop harassing her. The emails and phone calls continued.               On October

                 .'I. 2016 Ms. Vcnzke received an email from RAC to which she demanded lluit RAC
    11
4'i
                 -KIAlOVi:'' her from the email li.sl. RAC did not and this failure to abide by Ms. Veir/ke's
s .1
        I, requests consiiluics a willful violation oftlic d'CPA.
         1               22. Asa result of Defendant RAC's willful and/or knowing violations of 47 C.S.C. >;
7
                     2:7(b)(lK Plaintiffs seek for themselves and each Class member treble damages, as provided by
    S
                     slalMie. up to SI..^00.00 for each and eveiy violation, pursuant to 47 U.S.C. ^ 227(b)(.D(Bj and
    Oi.
                     47 C.S.r.§ 227(b)(3)(C).
lOi
                         23. Pursuant to 47 U.S.C. § 227(b)(3)(A). injunctive relief prohibiting such conduct in the
Hi
             : fuliire.
                         24. .Anv other relief the Court may deem just and proper.

13
                                                     SrXONO CAUSK OF ACTION
14
                                        Negligent Viohititm of the I CPA U.S.C. § 227 F f .SEQ.
                                                       (.Against .All Defendants)
lb                        30. Plaintiff incorporates the foregoing paragraphs as though the .same were set lorth at
    _ii
'                    length herein.
IS                        31 . As shown above. RAC made robo-calls to PlainlilTs primary pltonc number, 'fhe

              t phone calls ucrc often made multiple limes on the .same day. Plaintiff indicated, via email and
.20 \ ia telephone conversation, that she did not authorize the contact.

                          32. As a result of Defendant R.AC's negligent violations of 47 U.S.C. Ij 237lb')( I). IMaintilt   I




22-!I seeks at least $500.00 in statutory damages, for each and every violation, pursuant to 47 li.S.C.

-7' i ^ 227(b)(3)(IM. Pursuant to 47 U.S.C.                    227(b)(3)(A). injunctive relief prohibiting such conduct
             1.


24                   in the future.
                          .■^3. .An\ other rcliclTlic Court may deem just and proper.


             I
■1";             :




                                                                COMPLAINT
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          Case 2:20-cv-06842-MRW Document 1-1 Filed 07/30/20 Page 7 of 19 Page ID #:11
      1




 !                                         THIRD CAUSE OF ACTION
                            Violation of the Rosenthal Fair Debt Collection Practices Act
                                              (Against All Defendants)

             34. IMainiiiT incorporates the foregoing paragraphs as though the same were sot forth at
4 length herein.

             ;'5. Plaiiniff is a consumer and the obligation between the panics i.s a debt owed pinsuani to

 () the .subicet notes and irusl deeds and is a consumer debt pursuant to the Ko.sentha! hair Debt

 7; t'ollcetion Practices Act f'Roscntiiai Act
   I

 SI           36. Ocfeiuianl is an auto loan company that is in the business ol collecting and processing
      M

 ()
          auto loan payments.
Ida           M. t he reprc.sentative ot'Oerendants made harassing phone calls and sent harassing emails

1I        10 PlainiilT despite Plaintiffs cease and desist demands. .As shown above, phone calls weie

I J:l|| inotie after business hours, multiple times in one day and in short increments of lime uiih the

          intern to haras.^^ Plaintiff.
14 i          3S. /\s a proNimaie result of RAC's violations of the Rosenthal Act. Plainlill is entitled to

I.S actual and stamioiy damages, attorney's fees and costs, and such other reliel as the coiiit

16 determines is due.

!7                                          FOURI H CAUSE OF ACTION
                               Violation of Ru.sinc.ss anti Professions Code 17200 et se(|.
IS                                               (Against All Defendants)

Id            30. Plaintiff incorporates the foregoing paragraphs as though the same were sol (onh at

.7(1 length herein.
"1            4(1. Plaintiff has suffered injury in fact and lost money and property as a result of ilie
     -1    unlawful, fraudulent and unfair practices of a business entity as demonsiraied in paragraphs 3-9

          and I 7-S(l above.

:m!                                                Unlawful Business .Acts
              4 !. Pkiiiitiff i.s inlbrmed believes and alleges that DEPENDANTS have violated the i C I’A
26 and Ro.scnlhal l air Debt Collection Acts as fully described above.

21

2!Si                            ■»

                                                      COMPLAINT
                                                             6
      Case 2:20-cv-06842-MRW Document 1-1 Filed 07/30/20 Page 8 of 19 Page ID #:12




                                            Fniuciulcnt Business Acts
*>       42. The Dcrcndiinis falsely communicated that Plainiiit liad to rehnance the lemainiim
5
      amount cxisiin*^ after her auiomobiic loan was paid.
4        45. Dcfcndanis also gaxc Plainliffother piece.s of advice such as demanding full payment aiK
s yet other rcpreseni:itive.s told her to just keep making her monthly payments.

{•'      44. I'vcrv month Defendants would then report late payments thougii the balance ol the car
                                                                                                        \
 7    itself was paid off.

 S        45. I'hc actions of the Defendants named in this Complaint were a substantial laeior m

 4 causing harm to Plaintiff in an amount to be proven at trial.

10                                        PRAYDR FOR RELIEF

              W'lllZRlii-DRE. Plaintiff seeks judgment in Plaintifl s favor and damages against the
      Defendant as to all causes of action, based on the following requested relief:

15
              (a) Statutory damages:
14
              (b) Actual damages:
15

!6            (e) Punitive damages:

17
              uD Costs and rea.sonabic attorney 's fee.s; and
IK
              (e) Other and further relief as may be just and proper.
10

2i)
~)

       DA Tld): April 7.2020                                    LAW OFFICL OF GI.LNN L. STI:RN

25                                                    BY:
                                                                RICHARD COBLRI.V             '
24                                                              Attorney for Plaintiff, l.isa Vcir/ke
25

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2K
                                                  COMPLAINT
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     Case 2:20-cv-06842-MRW Document 1-1 Filed 07/30/20 Page 9 of 19 Page ID #:13

                                                                                               Reserved for Clerk's File Sia mp
          SUPERIOR COURT OF CALIFORNIA
             COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:
                                                                                                          FILED
Spring Street Courthouse                                                                        Superbr Court of Cairfornta
                                                                                                 Counlycf LosAngates
312 North Spring Street, Los Angeles, CA 90012
                                                                                                      04/07/2020
PLAINTIFF(S):
                                                                                        Shell fl Curler. t^jccjTveOSwrOei-'Aof Co'j^
Lisa Venzke                                                                              By;            G. Vfllarraal      Oep’iTy
DEFeNDANT(S):

Regional Acceptance Corporation
                                                                                        CASE NUMBER:
      NOTICE OF CASE ASSIGNMENT - LIMITED CIVIL CASE
                                                                                        20STLC03152

Case is assigned for all purposes to the judicial officer indicated below. Notice given to Plaintiff / Cross-Complainant /
Attorney of Record on        04/Q7/2Q2Q

                              ASSIGNED JUDGE                         DEPARTMENT                              ROOM
                              Serena R. Murillo

                                                              Sherri R. Carter, Executive Officer/ Clerk of Court

                                                           By G. Villarreal                             Deputy Clerk

                                      Instructions for Handling Limited Civil Cases
                                             1
The following critical provisions, as applicable in the Los Angeles Superior Court are cited for your information.
PRIORITY OVER OTHER RULES: The priority of Chapter Seven of the LASC Local Rules over other inconsistent
Local Rules is set forth in Rule 7.2© thereof.
CHALLENGE TO ASSIGNED JUDGE: To the extent set forth therein. Government Code section 68616(i) and Local
Rule 2.5 control the timing of Code of Civil Procedure section 170.6 challenges.
TIME STANDARDS: The time standards may be extended by the court only upon a showing of good cause.
(Cal. Rules of Court, rule 3.110.) Failure to meet time standards may result in the imposition of sanctions.
(Local Rule 3.37.)
Except for collections cases pursuant to California Rules of Court, rule 3.740, cases assigned to the Individual
Calendar Court will be subject to processing under the following time standards;
COMPLAINTS: All complaints shall be served and the proof of service filed within 60 days after filing of the complaint,
CROSS-COMPLAINTS: Without leave of court first being obtained, no cross-complaint may be filed by any party after
their answer is filed. Cross-complaints against parties new to the action must be served and the proof of service filed
within 30 days after the filing of the cross-complaint. A cross-complaint against a party who has already appeared in
the action must be accompanied by proof of service of the cross-complaint at the time it is filed. (Code Civ. Proc., §
428.50.)
DEFAULTS (Local Rule 9.10): If a responsive pleading is not served within the time to respond and no extension of
time has been granted, the plaintiff must file a Request for Entry of Default within 10 days after the time for service has
elapsed. Failure to timely file the Request for Entry of Default may result in an Order to Show Cause being issued as
to why sanctions should not be imposed. The plaintiff must request default judgment on the defaulting defendants
within 40 days after entry of default.
NOTICED MOTIONS: All regularly noticed motions will be calendared through the assigned department. Each motion
date must be separately reserved and filed with appropriate fees for each motion. Motions for Summary Judgment
must be identified at the time of reservations. All motions should be filed in the clerk’s office.
EX PARTE MATTERS: All ex parte applications should be noticed for the courtroom.
UNINSURED MOTORISTS CLAIMS: Delay Reduction Rules do not apply to uninsured motorist claims. The plaintiff
must file a Notice of Designation with the Court identifying the case as an uninsured motorist claim under Insurance
Code section 11580.2.


                                 NOTICE OF CASE ASSIGNMENT - LIMITED CIVIL CASE
LACIV____ 001 (Rev. [03/17)
LASC Approved 09-04
Case 2:20-cv-06842-MRW Document 1-1 Filed 07/30/20 Page 10 of 19 Page ID #:14
                                                                                                                  2018-SJ-008*00|



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 2                                                                                           FflLED
                                                                                    Supertor Court of CaHfomla
                                                                                      County of Los Angeles
 3
 4
                                                                                          APR 18 2018
                                                                               Sherri R. farter, Exi        Olficer/Clerk
 5                                                                                                               Deputy
                                                                                        Stephanie Chung ^
 6
 7

 8                           SUPERIOR COURT OF THE STATE OF CALIFORNIA
 9                                     FOR THE COUNTY OF LOS ANGELES
10
11   In re Civil Limited Jurisdiction Cases                    ) FIRST AMENDED STANDING ORDER
12   Calendared in Department 94 (Non-Collection               ) (Effective as of April 23^ 2018)
     Cases)                                                    )
13
14          TO EACH PARTY AND TO THE ATTORNEY OF RECORD FOR EACH PARTY:
15          Pursuant to the California Code of Civil Procedure (“C.C.P.”), the California Rules of Court
16   (“C.R.C.”), and the Los Angeles County Court Rules (“Local Rules”), the Los Angeles Superior
17   Court (“LASC” or “Court”) HEREBY AMENDS AND SUPERSEDES THE JANUARY 12, 2018
18   STANDING ORDER, AND THE COURT HEREBY ISSUES THE FOLLOWING STANDING
19   ORDER THAT SHALL APPLY TO ALL LIMITED CIVIL (NON COLLECTION) CASES FILED
20   AND/OR HEARD IN DEPARTMENT 94.
21          1.        PLAINT]FF(S) IS/ARE ORDERED TO SERVE A COPY OF THIS STANDING
22   ORDER ON THE DEFENDANTfS^ WITH COPIES OF THE SUMMONS AND COMPLAINT
23   AND TO FILE PROOF OF SERVICE. AS MANDATED IN THIS ORDER.
24          2.        The Court sets the following trial date in this case in Department 94 (7‘*’ Floor, Room
25   723) at the Stanley Mosk Courthouse, 111 North Hill Street, Los Angeles, CA 90012:
26
                          TRIAL: Order lo Show Cause Re: Failure to File Proof of Service: 04/11/2023
27                               Non-Jury Trial: 10/05/2021
                          Date:                                           at 8:30 a.m.
28



                                                        1
                                          FIRST AMENDED STANDING ORDER
                 CIVIL LIMITED JURISDICTION CASES CALENDARED IN DEPT. 94 (NON COLLECTION CASES)
Case 2:20-cv-06842-MRW Document 1-1 Filed 07/30/20 Page 11 of 19 Page ID #:15
     jr\




                                                                                                 2018*SJ-008*0C




 I                               SERVICE OF SUMMONS AND COMPLAINT
 2           3.        The trial date set forth above is conditioned on the defendant(s) being served with the
 3   summons and complaint within six (61 months of the filing of the complaint. The trial date may be
 4   continued to a later date if service is not accomplished within six months. The parties may stipulate
 5   to keep the original trial date even if service of the summons and complaint is not completed within
 6   six months of the filing of the original complaint.
 1           4.        The summons and complaint shall be served upon the defendant(s) within three years
 8   after the complaint is filed in this action. (C.C.P., § 583.210, subd. (a).) Failure to comply will result
 9   in dismissal, without prejudice, of the action, as to all unserved parties who have not been dismissed
10   as of that date. (C.C.P., § 581, subd. (g).) The dismissal without prejudice as to the unserved parties
11   for this case shall be effective on the following date:
12
                                 UNSERVED PARTIES DISMISSAL DATE
13
14
15
16
17
18           5.        No case management, mandatory settlement or final status conferences will be
19   conducted in this case.
20                                             LAW AND MOTION
21           6.        All regularly noticed pretrial motions will be heard in Department 94 on Mondays,
22   Tuesdays, Wednesdays, and Thursdays at 8:30 a.m. A motion will be heard only if a party reserves a
23   hearing date by going to the court’s website at www.lacourt.org and reserving it through the Court
24   Reservation System (“CRS”) accessed via the “Divisions” tab at the top of the webpage, in the

25   “Civil” Division section. All motions should be filed at the filing window on the first floor of the

26   Stanley Mosk Courthouse and filed and served in accordance with C.C.P., § 1005, subd. (b), and all

27   other relevant statutes.

28   ///




                                                         2
                                           FIRST AMENDED STANDING ORDER
                  CIVIL LIMITED JURISDICTION CASES CALENDARED IN DEPT. 94 (NON COLLECTION CASES)
    Case 2:20-cv-06842-MRW Document 1-1 Filed 07/30/20 Page 12 of 19 Page ID #:16
                                                                                                        2018-SJ-008-OC




     1           7.        Tentative Rulings may be posted on the Court’s internet site no later than the day prior
     2   to the hearing. To access tentative rulings, parties may go to www.lacourt.org. select “Civil”
     3   Division from the Divisions” tab at the top of the webpage, then click on “Tentative Rulings,” and
     4   then type the case number in the box and click “Search.”
     5                                          EX PARTE APPLICATIONS
     6           8.        Ex parte applications must be noticed for 1:30 p.m. in Department 94 and filed and
     7   served in accordance with C.R.C., Rules 3.1201-3.1207. All ex parte application fees must be paid
     8   by 1:00 p.m. at the filing window on the first floor of the Stanley Mosk Courthouse.
     9                                                    JURY FEES
    10           9.        The fees for jury trial shall be due no later than 365 calendar days after the filing of
    11   the initial complaint, or as otherwise provided by C.C.P., §631, subds. (b) and (c).
    12                                   STIPULATION TO CONTINUE TRIAL
    13           10.       A trial will be postponed if all attorneys of record and/or the parties who have
    14   appeared in the action stipulate in writing to a specific continued date. If the stipulation is filed less
    15   than five (5) court days before the scheduled trial date, then a courtesy copy of the stipulation must be
    16   filed in Department 94. A proposed order shall be lodged along with the stipulation. The Stipulation
    17   and Order should be filed in Room 118 of the Stanley Mosk Courthouse with the required filing fees.
    18                                                      TRIAL
    19           11.       Parties are to appear on the trial date ready to go to trial, and must meet and confer on
    20   all pretrial matters at least 20 calendar days before the trial date. On the date of trial, the parties shall
    21   bring with them to Department 94 a three-ring binder with a table of contents containing conformed
    22   copies of each of the following documents behind a separate tab.
    23                     1) Printed copies of the Current Operative Pleadings (including the operative
    24                        complaint; answer; cross-complaint, if any; and answer to cross-complaint);
    25                     2) Motions in Limine, if any, which must be served and filed in accordance with the
/   26                        Local Rules, Rule 3.57;
    27                     3) Joint Statement of the Case (if a jury trial);
    28   ///



                                                               "3
                                               FIRST AMENDED STANDING ORDER
                      CIVIL LIMITED JURISDICTION CASES CALENDARED IN DEPT. 94 (NON COLLECTION CASES)
Case 2:20-cv-06842-MRW Document 1-1 Filed 07/30/20 Page 13 of 19 Page ID #:17
                                                                                                2018-SJ-008-00




 1       '           4) Joint Witness List disclosing an offer of proof regarding the testimony of each
 2                       witness, the time expected for testimony of each witness, the total time expected
 3                       for ail witnesses, and the need, if any, for an interpreter;
 4                   5) Joint Exhibit List;
 5                   6) Printed and Edited Joint Proposed Jury Instructions (if a jury trial), and
 6                   7) Printed Joint Proposed Verdict Form(s) (if a jury trial).
 7            The parties shall also bring a second binder containing the Joint Exhibits in an Exhibit Book
 8   numbered appropriately.
 9            FAILURE TO PROVIDE ANY OF THE AFOREMENTIONED DOCUMENTS ON
10   THE TRIAL DATE MAY CAUSE A DELAY IN THE CASE BEING ASSIGNED TO A
11   TRIAL COURT.
12            GOOD CAUSE APPEARING THEREFOR, IT IS ORDERED.
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15   Dated:                     2oia
16                                                           DEBRE K. WEINTRAUB
                                                             Supervising Judge, Civil
17                                                           Los Angeles Superior Court
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                                         FIRST AMENDED STANDING ORDER
                CIVIL LIMITED JURISDICTION CASES CALENDARED IN DEPT. 94 (NON COLLECTION CASES)
    Case 2:20-cv-06842-MRW Document 1-1 Filed 07/30/20 Page 14 of 19 Page ID #:18


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    7                         SUPERIOR COURT OF THE STATE OF CALIFORNIA
    8                                 FOR THE COUNTY OF LOS ANGELES
    9
    10   In re Civil Limited Jurisdiction Cases           ) THIRD AMENDED STANDING ORDER
    11   Calendared in Departments 25 & 26 (Non-          ) (Effective as of February 24,2020)
         Collection Cases) at the Spring Street           )
    12   Courthouse                                       )

(   13
    14          TO EACH PARTY AND TO THE ATTORNEY OF RECORD FOR EACH PARTY:
    15          Pursuant to the California Code of Civil Procedure (C.C.P.)t the California Rules of Court
    16   (C.R.C.). and the Los Angeles County Court Rules (Local Rules), the Los Angeles Superior Court
    17   (LASC or Court) HEREBY AMENDS AND SUPERSEDES THE NOVEMBER 13. 2019, SECOND
    18   AMENDED STANDING ORDER, AND THE COURT HEREBY ISSUES THE FOLLOWING
    19   STANDING ORDER THAT SHALL APPLY TO ALL LIMITED CIVIL (NON-COLLECTION)
    20   CASES FILED AND/OR HEARD IN DEPARTMENTS 25 & 26.
    21          !.     PLAINTIFF(S) IS/ARE ORDERED TO SERVE A COPY OF THIS STANDING
    22   ORDER ON THE DEFENDANTfS) WITH COPIES OF THE SUMMONS AND COMPLAINT
    23   AND TO FILE PROOF OF SERVICE. AS MANDATED IN THIS ORDER.
    24          2.     The Court sets the following trial date in this case at the Spring Street Courthouse in
    25   the Limited Jurisdiction Department as reflected in the Notice of Case Assignment:
    26
                            TRIAL:
    27
                            Dale:                                     at 8:30 a.m.
    28


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                                           THIRD AMENDED STANDING ORDER
          CIVIL LIMITED JURISDICTION NON-COLLECTtON CASES CALENDARED AT THE SPRING STREET COURTHOUSE
Case 2:20-cv-06842-MRW Document 1-1 Filed 07/30/20 Page 15 of 19 Page ID #:19



1                               SERVICE OF SUMMONS AND COMPLAINT
2            3.      The trial date set forth above is conditioned on the defendant(s) being served with the
3     summons and complaint within six (6) months of the Tiling of the complaint. The trial date may be
4     continued to a later date if service is not accomplished within six months. The parties may stipulate
5     to keep the original trial date even if service of the summons and complaint is not completed within
6     six months of the filing of the original complaint.
7            4.      The summons and complaint shall be served upon the defendant(s) within three vears_
8     after the complaint is filed in this action. (C.C.P., § 583.210, subd. (a).) Failure to comply will result
9     in dismissal, without prejudice, of the action, as to all unserved parties who have not been dismissed
10    as of that date. (C.C.P., §581, subd. (g).) The dismissal without prejudice as to the unserved parlies
11    for this case shall be effective on the following date:
12
                                 UNSERVED PARTIES DISMISSAL DATE
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18            5.      No case management, mandatory settlement or final status conferences will be
19    conducted in this case.
20                                             LAW AND MOTION
21    All regularly noticed pretrial motions will be heard in the courtroom the case is assigned to on
22    Mondays, Tuesdays, Wednesdays, and Thursdays at 10:30 a.m. A motion will be heard only if a
23    party reserves a hearing date by going to the court’s website at www.lacourt.org and reserving it
24    through the Court Reservation System accessed via the "Divisions” tab at the top of the webpage, anc
25    by selecting “Civil”. All motions should be filed at the filing window on the first floor of the Stanley
26    Mosk Courthouse and filed and served in accordance with C.C.P., § 1005, subd. (b), and all other
27    relevant statutes.
28    ///



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                                       THIRD AMENDED STANDING ORDER
       CIVIL LIMITED JURISDICTION NON-COUECTION CASES CALENDARED AT THE SPRING STREET COURTHOUSE
 Case 2:20-cv-06842-MRW Document 1-1 Filed 07/30/20 Page 16 of 19 Page ID #:20



 1           6.      Tentative Rulings may be posted on the Court’s website no later than the day prior to
 2   the hearing. To access tentative rulings, parties may go to www.lacourt.org. select “Civil" from the
 3   “Divisions" tab at the top of the webpage, then select ‘Tentative Rulings," and type the case number
 4   in the box and click "Search."
 5                                        EX PARTE APPLICATIONS
 6           7.      Ex parte applications must be noticed for 1:30 p.m. in the courtroom the case is
 7   assigned to and filed and served in accordance with C.R.C.. rules 3.1201-3.1207. All electronic filers
 8   must submit the application and fees by 10:00 a.m. the day before the ex parte hearing. Any ex parte
 9   applications exempt from electronically filing, must be submitted by 11:00 a.m. the day of the
10   hearing, at the filing window on the first floor of the Stanley Mosk Courthouse.
11                                                  JURY FEES
12           8.      The fees for jury trial shall be due no later than 365 calendar days after the filing of
13   the initial complaint or as otherwise provided by C.C.P., §631, subds. (c)(2).
14                                  STIPULATION TO CONTINUE TRIAL
15           9.      A trial will be postponed if all attorneys of record and/or the parties who have
!6   appeared in the action stipulate in writing to a specific continued date. If the stipulation is filed less
17   than five (5) court days before the scheduled trial date, then a courtesy copy of the stipulation must be
18   provided to the assigned courtroom. A proposed order shall be lodged along with the stipulation.
19                                                     TRIAL
20           10.     Parties are to appear on the trial date ready to go to trial and must meet and confer on
21   all pretrial matters at least 20 calendar days before the trial date. On the date of trial, the parties shall
22   bring with them to the courtroom where the case is assigned a three-ring binder with a table of
23   contents containing conformed copies of each of the following documents behind a separate tab.
24                   1) Printed copies of the current operative pleadings (including the operative
25                      complaint; answer; cross-complaint, if any; and answer to cross-complaint);
26                   2) Motions in Limine, if any, which must be served and filed in accordance with the
27                      Local Rules, rule 3.57;
28                   3) Joint Statement of the Case (if a jury trial);



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                                     THIRD AMENDED STANDING ORDER
     CIVIL LIMITED JURISDICTION NON-COUECTION CASES CALENDARED AT THE SPRING STREET COURTHOUSE
Case 2:20-cv-06842-MRW Document 1-1 Filed 07/30/20 Page 17 of 19 Page ID #:21



 1                   4) Joint Witness List disclosing an offer of proof regarding the testimony of each
 2                       witness, the time expected for testimony of each witness, the total time expected
 3                       for all witnesses, and the need, if any, for an interpreter;
 4                   5) Joint Exhibit List;
 5                   6) Printed and edited Joint Proposed Jury Instructions (if a jury (rial), and
 6                   7) Printed Joint Proposed Verdict Form(s) (if a jury trial).
 7            The parties shall also bring a second binder containing the Joint Exhibits in an Exhibit Book
 8   numbered appropriately.
 9            FAILURE TO PROVIDE ANY OF THE AFOREMENTIONED DOCUMENTS ON
10   THE TRIAL DATE MAY CAUSE A DELAY IN THE CASE BEING ASSIGNED TO A
11   TRIAL COURT.
12            GOOD CAUSE APPEARING THEREFOR, IT IS ORDERED.
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15   Dated:
16                                                           SAMANTHA P. JESSNER
                                                             Supervising Judge, Civil
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                                     THIRD AMENDED STANDING ORDER
     CIVIL LIMITED JURISDICTION NON-COLLECTION CASES CALENDARED AT THE SPRING STREET COURTHOUSE
Case 2:20-cv-06842-MRW Document 1-1 Filed 07/30/20 Page 18 of 19 Page ID #:22


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 4                           SUPERIOR COURT OF THE STATE OF CALIFORNIA
 5                                    FOR THE COUNTY OF LOS ANGELES
 6
      In re Limited Jurisdiction Civil Coses           )   GENERAL ORDER RE LIMITED
 7    Calendared in the Los Angeles County                 JURISDICTION CIVIL PROCEDURES:
      Superior Court                                       NOTICE OF WEB PORTAL
 8                                                         AVAILABILITY FOR INTERPRETER
                                                           REQUESTS
 9                                                         (Effective July 11,2016)
 10
 11   TO EACH PARTY:                                            t


 12           In order to expedite the availability of interpreters at hearings on limited jurisdiction civil cases,
 13   IT IS HEREBY ORDERED that each limited jurisdiction civil plamtiff shall, along with the coroplaint
 14   and other required documents, serve ail named defendants with the Notice ofthe AvailabiUty of Web
 15   Portalfor Interpreter Requistr, this notice informs the Utiguts' that the Lds'Angeles County Superior
 16   Court provides interpreter services in limited jurisdiction civil cases at no cost to parties with limited
 17   English proficiency and that Spanish language interpreters are available in courtrooms where limited
 18 jurisdiction civil hearings ate held. The notice          be provided to the plaintiff at the time the limited
 19 jurisdiction civil action is filed, if filed at the cleric*s office, and will also be posted on the Los Angelas
 20   County Superior Court internet website {bt^;//www.lacourtorgO' Plamtifl(8) must then indicate service'
 21   of the Notice ofAvatlability of Web Portalfor Interpreter Requests on line 2(f) of the Proof of Service
 22   of Summons form (POS4)lO).
 23           Effective immediately, this General Order is to remain in eC^ until otherwise ordered by the
 24   Presiding Judge.
 25
 26 DATED: June              ^2016
 27                                                           CAROLYlfB.IG
                                                              Presiding Judge
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                                   GENERAL ORDER-UMTIED JURISDICTION CIVIL PORTAL
      Case 2:20-cv-06842-MRW Document 1-1 Filed 07/30/20 Page 19 of 19 Page ID #:23
                                  Notice of Availability of Limited Ovil Jurltdietlan VWeb Portal for Interpreter Reouests

The Los Angeles Superior Court provides Interpreter services at no cost to parties with limited English proficiency in Limited Civil jurisdiction hearings.
Spanisri Interpreters are available at all courthouse locations. Therefore, It Is not necessary to request a Spanish language Interpreter In advance. If
you require a Spanish Interpreter, please let the courtroom staff know about your need on the day of your hearing. Limited English proficient
individuals who speak a language other than Spanish may request an Interpreter In advance of their court hearing via the Court's Web Portal for
Interpreter Requests (URL). While the Court will make every effort to locate an interpreter for the date and time of your hearing. It cannot guarantee
that one jwlll be Immediately available. If you have general questions about language access services, please contact us at
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                          Aviso de disponibllidad del Portal web para Jurlsdiccldn limitada civil para solicitar int^rpretes

La corte superior de Los Angeles brinda serviclos de Intdrprete sin cargo para audlencias de Jurlsdiccldn limitada civil a las partes que tienen
conocimlentos llmitados de Ingles. Se dispone de Int^rpretes de espahol en todos los jutgados. Por lo tanto, no es necesario pedir un inUrprete de
espaflol por adelantado. SI necesita un Intdrprete de espanol, Infdrmele al personal de la sala del juzgado el dfa de su audlencla. Los individuos con
conocimlentos llmitados de Inglds que hablan un Idioma que no sea el espaftol pueden solicitar un intdrprete antes de la audiencia en la corte por
medio del Portal web de la corte para solicitar int^rpreles (URL). La corte hard e! mayor esfuerto posible para programar un Intdrprele para la
fecha y hora de su audiencia; sin embargo, no le podemos garantizar de que haya uno disponible en forma Inmediata. SI tlene preguntas generales
sobre los serviclos de acceso lingQIstfco, envfe un mensaje a LanfluaeeActessgaLACourt.or«.

                             Th6ng Bdo vl Cong Web Tham QuySn              Si^ 6161 H^n de Xin Cung C^p rh6ng 0|ch Vi§n

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